The BANK OF NEW YORK MELLON, f/k/a the Bank of New York, not in its Individual Capacity but Solely as Trustee for the Benefit of the Certificate Holders of the CWABS, Inc. Asset-Backed Certificates Series 2006-6, Appellant, v. K &amp; P HOMES, LLC, a Series Limited Liability Company of Dek Holdings, LLC, a Nevada Limited Liability Company, Respondent.The Wright Law GroupORDER DISMISSING APPEALPursuant to the stipulation of the parties, and cause appearing, this appeal is dismissed. The parties shall bear their own costs and attorney fees. NRAP 42(b).It is so ORDERED.